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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

               v.                                      Case No: 21-mj-126 (RMM)


JOSEPH RANDALL BIGGS,
           Defendant.




                                 NOTICE OF APPEARANCE
      The Clerk is hereby notified that the undersigned, John Daniel Hull, appears on behalf of
Defendant Joseph Randall Biggs in the above-styled action. He appears as retained.


                                             Respectfully submitted,
                                             JOHN DANIEL HULL
                                             COUNSEL FOR DEFENDANT


                                             By: ___ /s/ J. Daniel Hull
                                             JOHN DANIEL HULL

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